                          UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


JAMES JILEK, et al., on behalf of                       )
himself and all others similarly situated,              )
                                                        )
                          Plaintiffs,                   )
                                                        )
         v.                                             )       Case No. 3:23-cv-00818-RJC DCK
                                                        )
COMPASS GROUP USA, INC., d/b/a                          )
CANTEEN,                                                )
                                                        )
                          Defendant.                    )
                                                        )


                      PLAINTIFF’S RESPONSE TO MOTION TO STRIKE1

    I.        INTRODUCTION

    This attempt to strike Dr. Kriegler’s Supplemental Expert Report (Doc. # 262-3) and Second

Supplemental Expert Report (Doc. # 262-4) is utterly without merit.2 The timing of the

disclosure of the Supplemental and Second Supplemental Reports is “harmless” under the

application of the first four factors set forth in Southern States Rack & Fixture, Inc. v. Sherwin-

Williams Co., 318 F.3d 592, 597 (4th Cir. 2003). That is because any surprise to Defendant was

minimal, Defendant had an opportunity to cure any surprise that may have affected the

preparation of its defense, there is no trial date and therefore there will be no disruption of the

trial, and the reports are vital to Plaintiff’s case. In addition, the timing of the disclosures was

1
 Plaintiff notes that, in violation of LCvR 7.1(b), this motion does not show that counsel conferred and attempted in
good faith to resolve areas of disagreement or describe the timely attempts of the movant to confer with opposing
counsel. However, as will be clear from this response, Plaintiff believes such a conference would have been futile.
2
  Compass also seeks to strike Dr. Kriegler’s Declaration submitted with Plaintiff’s motion for class certification
(Doc. # 293-4). However, that is moot because the declaration only pertains to the South Carolina and Florida
subclasses that Plaintiff has withdrawn from its motion for class certification. See Plaintiffs’ Supplement to Motion
for Class Certification, Doc. # 294.
                                                            1



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caused by Compass’ late disclosure of vital information and therefore the fifth Southern States

factor also points toward denial of this motion.

   II.     BACKGROUND AND STATEMENT OF FACTS

   Compass doesn’t describe the circumstances that led to the timing of the reports it

challenges. That is not surprising because those circumstances show that this motion is entirely

baseless. But here is what happened:

   Throughout this litigation, beginning in early 2000, Defendant has produced multiple

successive reports of a survey of its vending machines that began in March 2019 and that

purported to indicate which of its two-tier machines were not labeled with a sticker informing

customers that they would be charged ten cents more if they used a credit, debit or prepaid card.

See Declaration of M. Anthony Jenkins (“Jenkins Decl.”), ¶ 2.

   On May 4, 2023, Defendant produced for the first time a so-called “Survey Instance Report.”

This was an extensive Excel spreadsheet, with corrected, updated and presumably complete data

from this survey. On May 22, 2023, Defendant provided a revised version of the Survey Instance

Report. See id. at ¶ 3. (As described below, this is not the latest version of this Report that

Compass produced.)

   On the afternoon of June 27, 2023, the day before Plaintiff was scheduled to take the

deposition of Martha Morgan, Defendant’s vice president of business information, and only six

weeks before the due date for Plaintiff's expert report, Defendant emailed Plaintiff a Declaration

signed by her that informed Plaintiff for the first time that these survey reports were subject to

human error. This was more than three years after Compass first disclosed the existence of this

survey. See id. at ¶ 4. At that point, Plaintiff had taken six depositions of Compass employees

about the survey, and none of the deponents had disclosed these human errors. See id. at ¶ 5. Nor
                                                   2



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did Ms. Morgan describe the extent of the errors, but she said she had found some by reviewing

photographs of the machines that had been taken as part of the survey. This was also the first

time Defendant had told Plaintiff that there were such photographs. See Jenkins Decl., ¶ 6. The

next day, during her deposition, Ms. Morgan testified that one could look at those photographs to

confirm whether a particular machine did or did not have a label at the time it was surveyed and

therefore determine if the survey was accurate as to that machine. See Ex. 1, Martha Morgan

Deposition, Vol. III (June 28, 2023), 169:4-170:15.

    Plaintiff early on had requested all photographs of the machines in question, both generally

and specifically.3 Here’s the general request:

            14. Any and all documents that refer or relate to Compass’s offer of discounts
        for cash transactions at Compass vending machines or that refer or relate to the
        implementation of that practice.

RFP. No. 14. In response, Compass produced many reports of its survey, but not the

photographs. But Plaintiff had also specifically requested photos:

            3. All photographs, drawings, or other depictions of a sign or other
        notification on a Canteen vending machine that the price for an item purchased
        with a card would be higher than the price shown.

Compass never produced these photographs in response.

    Nor had Defendant referred to or included the photographs in a Rule 26(a)(1) disclosure even

though it served a supplemental disclosure on November 1, 2022, more than two-and-a-half

years after the time frame that Ms. Morgan referred to as the “Remediation Period” from March

2019 to February 2020 when the survey was conducted and the photographs taken and even

though it had obviously been planning to use the photos in its defense. See Ex. 3 (Defendant



3
  Plaintiffs’ First Request for Documents Directed to Defendant Compass Group USA, Inc., D/B/A Canteen
(“RFP”), served 3/8/2019, Ex. 2 to Jenkins Decl.
                                                      3



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Compass Group USA, Inc.’s Supplement to Rule 26(a) Disclosures); Jenkins Decl., ¶ 10.4

      And to this day, Compass has not explained why it took until late June 2023 – more than

three years after it first began producing reports of its survey – to reveal the existence of the

photographs or the human errors that the photographs could confirm or refute.

      This revelation necessitated a dramatic change in how Plaintiff planned to prove classwide

damages. Before learning that the survey had an unknown number of errors, Plaintiff had

planned simply to multiply the number of card purchases from unlabeled, two-tier machines

according to the survey times 10 cents. But now Plaintiff had to account for the errors. This

required detailed consultations with his expert, Dr. Brian Kriegler, regarding how to do this.

      Dr. Kriegler developed a method using photographs of a random sample of machines that

had been recorded as unlabeled. This would enable him, using statistical methods, to make an

extrapolated estimate of classwide damages taking into account survey errors. On July 30, 2023,

Plaintiff specifically requested that Defendant provide the photographs for each surveyed

machine. Two days later, Defenant stated that “there is no way to provide direct access to the

photos linked in the spreadsheet.” Accordingly, on August 1, 2023, the parties met and conferred

with Plaintiff proposing a resolution whereby Compass would produce photos of a random

sample of surveyed and un-surveyed machines. On August 4, Plaintiff sent Defendant a random

list of surveyed and un-surveyed machines created by Plaintiff’s expert. On August 7, 2023,

Defendant asked Plaintiff to serve a formal discovery request. August 7 was also the due date for

Plaintiff’s expert report. See Jenkins Decl., ¶ 11.

      In his report, Dr. Kriegler presented his methodology for analyzing a random sample of

Defendant’s survey data in order to extrapolate nationwide, classwide damages and prejudgment

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    The supplemental disclosure only identified insurance agreements.
                                                          4



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interest at certain confidence intervals. He stated:

       It is my opinion that the combination of Canteen’s historical data, statistical
       sampling, and an eventual analysis of a stratified random sample of vending
       machines can be used to derive reliable estimates of classwide damages. Canteen’s
       data is used to define a sampled population. Random sampling is applied in order
       to ensure that the selection of vending machines is neutral and unbiased. Total
       principal damages and pre-judgment interest will be extrapolated based on the
       results of the random sample of vending machines. Confidence intervals and
       margins of error of classwide totals will be calculated using established statistical
       methods.

Doc. No. 262-1, p. 4 at ¶ 10.

   Dr. Kriegler’s report sets forth his precise methodology including how the extrapolation

would be performed after obtaining the random sampling of machine photographs that Plaintiff

had requested. See Doc. # 262-1. As Dr. Kriegler explains:

       First, while Canteen conducted a survey of its vending machines in 2019-2020,
       Defendant’s vice president of business information, Martha Morgan, indicated that
       the data that were recorded are subject to human error. By collecting, reviewing,
       and analyzing photographs of a random sample of previously-surveyed machines,
       this portion of classwide damages can be calculated and verified.

Doc. No. 262-1, pp. 4–5 at ¶ 11. In performing his analysis, he would use the data in two

Compass reports, the Two-Tier Revenue Report and the Survey Instance Report. Id. ¶¶ 16, 17.

   On August 11, 2023, four days after serving the expert report, Plaintiff served Defendant

with Dr. Kriegler’s Supplemental Report (“Supplemental Report”), which applied the same

methodology to the California subclass but was otherwise no different from the original Report:

       3. Except where specified otherwise, the terminology and methodology utilized in
       this supplemental expert report are the same as in the Expert Report of Brian
       Kriegler, Ph.D., dated August 7, 2023 (“Kriegler Report”).

       4. The purpose of this supplemental expert report is to provide a stratified random
       sample of machines located in California (“California Stratified Random Sample”).

Doc. No. 262-2, p. 1 at ¶¶ 3 -4; Jenkins Decl. ¶ 12.


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   Compass took Dr. Kriegler’s deposition on August 23, 2023. Dr. Kriegler followed up two

days later with an errata, correcting a minor mistake that had come to light during his deposition.

Jenkins Decl. ¶ 13. Compass is not seeking to have that errata excluded.

   On September 8, 2023, Defendant produced the photographs. In addition, it produced an

updated Survey Instance Report that added more than 16,000 rows to the prior version produced

the previous May, the one mentioned in Dr. Kriegler’s original report. Jenkins Decl. ¶ 14. This

was a month-and-a-day after Dr. Kriegler had produced his report and more than two weeks after

his deposition. Ten days later, on September 18, 2023, Defendant’s expert, David Kalat, issued

his report in which he utilized the photographs and the new version of the Survey Instance

Report in an analysis that adopted Dr. Kriegler’s methodology. He did not criticize that

methodology. See, e.g., Doc. No. 257-8, p. 3 at ¶ 5 (“It is my opinion to a reasonable degree of

certainty in the field of data analytics that, after applying Dr. Kriegler’s methodology to the

newly produced supplemental survey records and photographs, collective extrapolated damages

overall total $9,997,193).

   On October 13, 2023, Plaintiff served Defendant with the Second Supplemental Expert

Report of Brian Kriegler, Ph.D., October 12, 2023. Jenkins Decl. ¶ 15. As stated therein:

                  5. In this class action lawsuit, there have been three key
               events since the Kriegler Deposition that pertain to my
               analysis/opinions:

               •   First, Canteen produced additional data/documents consisting
                   of (i) an updated Survey Instance Report that includes 263,016
                   rows of data, and (ii) photographs for sampled machines in
                   Nationwide Stratum 1 and/or in California Stratum 1.

               •   Second, Canteen provided “Interrogatory Responses” in which
                   they provided pertinent information about sampled machines in
                   Nationwide Stratum 3 and in California Stratum 3.

                                                 6



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                •   Third, Canteen’s expert, David Kalat, submitted a report dated
                    September 18, 2023 (“Kalat Report”). Therein, Mr. Kalat
                    provided an analysis of the sampled observations in
                    Nationwide Stratum 1 and in California Stratum 1. See Kalat
                    Report, Exhibit 4.

                    6. The purpose of this report is to provide alleged classwide
                damages and interest using a combination of (i) the methodologies
                set forth in the Kriegler Report, (ii) the random sample selections
                presented in the Kriegler Reports, (iii) Canteen’s recent data
                production and interrogatory responses, and (iv) the analyses and
                opinions presented in the Kalat Report.

Doc. 262-4, pp. 1–2 at ¶¶ 5–6 (footnotes omitted).

    The Second Supplemental Report calculated damages using the methodology Dr. Kriegler

had described in his original report with the data from the Two-Tier Revenue Report, the

recently updated Survey Instance Report, and the photographs. Dr. Kriegler did not himself

review the photos to determine if they indicated a machine had a label. Instead, he relied on Mr.

Kalat’s review, as set forth in the Kalat report. Doc. 262-4, p. 19 at ¶ 21(a), and pp, 1–2 at ¶ 5

(footnote omitted).

    In the motion to strike, Compass argues that it will be severely prejudiced if the Second

Supplemental Report is not stricken because, Compass asserts, it “attacks Compass’s rebuttal

expert’s opinions and analysis.”5 Tellingly, Compass doesn’t describe any such “attack.” The

fact is that the two reports are largely in agreement. Mr. Kalat used Dr. Kriegler’s methodology,

and, except for not including pre-judgment interest, found a total amount of classwide damages

very close to Dr. Kriegler’s. Dr. Kriegler used Mr. Kalat’s analysis of the photos. Furthermore,

Dr. Kriegler described the areas where they were in agreement or not in dispute as “areas of

convergence.” See the discussion of the two reports in Memorandum in Support of Plaintiffs’

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 Memorandum of Law in Support of Compass Group USA, Inc.’s Motion to Strike (“Def, Mem,”), Doc.# 298, at
11.
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Motion for Class Certification, Doc. # 293-1, at 20-23. Plaintiffs’ counsel cannot recall a case in

their entire careers in which the parties’ experts agreed so much.

    III.    ARGUMENT

    “District courts are accorded ‘broad discretion’ in determining whether a party's . . . untimely

disclosure of evidence is substantially justified or harmless. Bresler v. Wilmington Tr. Co., 855

F.3d 178, 190 (4th Cir. 2017) (quoting Wilkins v. Montgomery, 751 F.3d 214, 222 (4th Cir.

2014)]).) In this Circuit, courts consider five factors set forth in Southern States Rack & Fixture,

Inc. v. Sherwin-Williams Co., 318 F.3d 592, 597 (4th Cir. 2003) in making that decision:

                In making this determination, district courts are guided by the
                following the factors:

                (1) the surprise to the party against whom the evidence would be
                offered; (2) the ability of that party to cure the surprise; (3) the
                extent to which allowing the evidence would disrupt the trial; (4)
                the importance of the evidence; and (5) the nondisclosing party's
                explanation for its failure to disclose the evidence.”

Bresler, 855 F.3d at 190 (quoting Southern States, 318 F.3d at 597.

    “The first four factors listed above relate primarily to the harmlessness exception, while the last

factor, addressing the party's explanation for its nondisclosure, relates mainly to the substantial

justification exception.” Id. (citing Southern States, 318 F.3d at 597). “The party failing to disclose

information bears the burden of establishing that the nondisclosure was substantially justified or was

harmless.” Id. (quoting Wilkins, 751 F.3d at 222 (citations omitted).

    Compass gives lip service to these factors (Def. Mem. 8-9) but then never discusses how they

apply to the facts of this case. For example, except in its block quote of the factors, it never mentions

“surprise.” It never describes how the trial would be disrupted. It bever talks about the importance of

the evidence. And it ignores the explanation for the timing of the reports. The reason why Compass

was silent about all of that is obvious. As is clear from the facts, all factors point squarely toward
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denial of this motion.

    Start with the first four, the ones related to harmlessness. The timing of the disclosure of

these reports was harmless because any surprise to Defendant was minimal at best, Defendant

had an opportunity to cure any surprise that may have affected the preparation of its defense,

there is no trial date, and the reports are vital to Plaintiff’s case.

    Applying the first factor, any surprise from the Supplemental Report being served four days

after the expert report due date was minimal or non-existent. The only thing this report added to

the first report was application of the methodology to the California subclass. Compass had to

know that was coming.

    As for the Second Supplemental Report, there was no surprise because the timely first report

stated that its methodology would be applied to the random sample that had already been

requested from Defendant. Thus, Defendant was aware from the expert report that a

supplemental report containing the damage calculations would be forthcoming after it produced

the requested random sample. In fact, Compass knew it would be coming even earlier when

Plaintiff served discovery regarding the photographs. The only thing that kept the Second

Supplemental Report from having already been prepared was that Compass hadn’t yet produced

the photographs and the updated Survey Instance Report.

    Compass complains that the Second Supplemental Report addresses Mr. Kalat’s report and

claims that “it allows Mr. Jilek the opportunity to submit an expert ‘reply brief,’ despite the fact

that none of the long-standing, prior court-ordered schedules contemplated any such thing.” Def.

Mem. 10 (citing Doc. # 236 [Scheduling Order]). But that Order simply denied the parties’

consent motion to extend the schedule. It said nothing about a rebuttal expert report. But the

existing schedule did. It allowed Plaintiff a rebuttal expert report. See Doc. # 198 at 2. Compass
                                                     9



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cannot have been surprised that Dr. Kriegler included that rebuttal in his Second Supplemental

Report.

   The second Southern States factor concerns Defendant’s ability to cure any purported surprise.

Here, Defendant cured any purported surprise from the Supplemental Report by questioning Dr.

Kriegler about it during his deposition. And with respect to the Second Supplemental Report,

nothing stopped Compass from asking to take Dr. Kriegler’s supplemental deposition about it.

Defendant had nearly six months between its receipt of the Second Supplemental Report on

October 13, 2023, and its response to the motion for class certification on April 4, 2024. From

December 1, 2023, when the case was transferred to this Court and the parties knew the class

certification motion would have to be re-briefed, Defendant still had four months to depose him.

Judge Pitlyk allowed the parties to conduct additional discovery by agreement (Ex. 4, Transcript

of Status Conference, June 15, 2023, p. 22:10 – 22:15), which it wouldn’t after the case was

transferred. And nowhere in Defendant’s response to the motion for class certification does it claim

it was unable to respond regarding the Supplemental or Second Supplemental Report. Defendant

made a full response to the motion (see Doc. # 196). There is no prejudice to Defendant in

preparing its defense.

   The third Southern States factor is “the extent to which allowing the evidence would disrupt

the trial.” 318 F.3d at 597. Here, there is no trial date. There’s nothing to disrupt.

   Regarding the fourth Southern States factor, the importance of the evidence, Dr. Kriegler’s

Supplemental and Second Supplemental Reports are not just important, they are vital. The

Supplemental Report uses the methodology from Dr. Kriegler’s Report for the California

subclass. The Second Supplemental Report applies those methodologies to the classwide and

subclasswide damage calculations, using the random samples that were requested before, and
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provided by Defendant after, the expert report due date and the updated Survey Instance Report

produced after that date. If Plaintiff is barred from using those reports, it will be unable to

present classwide (and California subclasswide) damages at trial. It might as well not go to trial

because it couldn’t possibly prevail.

    Thus, without question the late disclosure of the Supplemental and Second Supplemental

Reports met the harmlessness criteria under the application of the first four Southern States

factors.

    The fifth Southern States factor does not have to be satisfied because the test is whether “the

nondisclosure was substantially justified or was harmless.” Bresler, supra, 855 F.3d at 189(4th Cir.

2017) (emphasis added). In Bresler, while the court found that the fifth factor weighed in favor of the

defendant, “[n]onetheless, given that any surprise … was minimal, and that Wilmington had an

opportunity to cure any surprise … that may have affected the preparation of its defense, we cannot

say that the district court abused its discretion in declining to exclude [the evidence] ….” Bresler,

supra, 855 F.3d at 194. Nevertheless, Plaintiff’s late disclosure was substantially justified.

    The reason for the four-day delay in the Supplemental Report is that the California subclass

was inadvertently omitted from the initial scope of work requested by Plaintiff’s counsel.

    With respect to the Second Supplemental Report, Plaintiff need not plead unintentional error,

as with the Supplemental Report. The reason for the timing of the later report related to the

photographs and the updated Survey Instance Report. Regarding the photographs, after more

than three years of Defendant’s having produced successive reports of its survey to Plaintiff,

Defendant suddenly told Plaintiff in late June 2023 that the survey was subject to human error

but that the error could be checked by a comparison with Defendant’s photographs. Defendant

had never produced those photographs or identified them in a Rule 26(a)(1) disclosure. It served

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its initial disclosure before the survey began on March 25, 2019 (see Doc. # 257-3 (D. Goldring

Tr., Vol. I, 22:1-4), so it obviously could not have mentioned them there. But once those

photographs were in existence, it was obligated either to supplement its disclosure to mention

them or produce them to Plaintiff. It did neither, even when it supplemented its Disclosure in

November 2022. Jenkins Decl. ¶ 10.6

    Moreover, even if Compass had produced the photographs in time for Dr. Kriegler to include

his analysis in his first report, he still would have had to redo it after Compass produced the

updated Survey Instance Report on September 8.

    In any event, when Plaintiff finally learned that Compass was claiming that the reports

contained human errors that could be checked with photographs, he consulted with Dr. Kriegler

about how to account for them, Dr. Kriegler developed a method that depended on a random

sample of photos, and Plaintiff requested the photos before Dr. Kriegler’s report was due.

Defendant produced the photos approximately one month later, and Dr. Kriegler promptly

prepared his Second Supplemental Report. Nothing about what Plaintiff did was unjustified (but

the same cannot be said for Compass’ delay in disclosing errors in its surveys or the existence of

its photographs).

6
  While the case was pending in the Eastern District of Missouri, Defendant was required to
comply with Local Rule 3.01, which requires parties to provide copies of disclosed documents to
all other parties except as otherwise ordered by the Court (no such Order was entered). Here is
the text of the rule in full (emphasis added):
    (A) Disclosure Pursuant to Rule 26(a)(1) and (2). Disclosures shall be made in the manner
    set forth in Fed.R.Civ.P. 26(a)(1) and (2), except to the extent otherwise stipulated by the
    parties or directed by order of the Court. Disclosure of documents and electronically
    stored information pursuant to Rule 26(a)(1)(A)(ii) shall be made by providing a copy to
    all other parties, except as otherwise ordered by the Court. Electronically stored
    information shall be disclosed in a form or forms in which it is ordinarily maintained or in
    a form or forms that are reasonably usable. A party need not disclose the same
    electronically stored information in more than one form.
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   IV.      CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully submit that the Motion should be denied.

Dated: May 3, 2024                                      Respectfully submitted,

                                                        GOLDENBERG HELLER &
                                                        ANTOGNOLI, P.C.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 3, 2024, the foregoing was served upon all counsel of record

via electronic mail.

                                                    /s/ M. Anthony Jenkins




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